Case 5:17-cv-02514-JGB-SHK Document 260-5 Filed 04/12/20 Page 1 of 18 Page ID
                                 #:5544




                        EXHIBIT E
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 2
                                                                   1 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5545
                                       #:1879


 1   Timothy P. Fox (CA Bar 157750)
     tfox@creeclaw.org
 2   Elizabeth Jordan*
 3
     ejordan@creeclaw.org
     CIVIL RIGHTS EDUCATION AND
 4   ENFORCEMENT CENTER
     1245 E. Colfax Avenue, Suite 400
 5   Denver, CO 80218
     Tel: (303) 757-7901
 6   Fax: (303) 872-9072
 7   Lisa Graybill*
     lisa.graybill@splcenter.org                Stuart Seaborn (CA Bar 198590)
 8   Jared Davidson*                            sseaborn@dralegal.org
     jared.davidson@splcenter.org               Melissa Riess (CA Bar 295959)
 9   SOUTHERN POVERTY LAW                       mriess@dralegal.org
10   CENTER                                     DISABILITY RIGHTS ADVOCATES
     201 St. Charles Avenue, Suite 2000         2001 Center Street, 4th Floor
11   New Orleans, Louisiana 70170               Berkeley, California 94704
     Tel: (504) 486-8982                        Tel: (510) 665-8644
12   Fax: (504) 486-8947                        Fax: (510) 665-8511
13

14
     Attorneys for Plaintiffs (continued on next page)
15

16
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
17                        EASTERN DIVISION – RIVERSIDE
18
      FAOUR ABDALLAH FRAIHAT, et al.,              Case No.: 19-cv-01546-JGB(SHKx)
19
                          Plaintiffs,
20                 v.                              Supplemental Declaration of
                                                   Homer Venters in Support of
21
      U.S. IMMIGRATION AND CUSTOMS                 Plaintiffs’ Reply Brief in Support
22    ENFORCEMENT, et al.,                         of Emergency Motion for
                                                   Preliminary Injunction
23
                          Defendants.
24                                                 Date: April 13, 2020
                                                   Time: 9:00 a.m.
25                                                 Hon. Jesus G. Bernal
26

27

28
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 3
                                                                   2 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5546
                                       #:1880


 1                                             Mark Mermelstein (CA Bar 208005)
                                               mmermelstein@orrick.com
 2 William F. Alderman (CA Bar 47381)          ORRICK, HERRINGTON &
   walderman@orrick.com                        SUTCLIFFE LLP
 3 Jake Routhier (CA Bar 324452)               777 South Figueroa Street
 4 jrouthier@orrick.com                        Suite 3200
   ORRICK, HERRINGTON &                        Los Angeles, CA 90017
 5 SUTCLIFFE LLP                               Tel: (213) 629-2020
   405 Howard Street                           Fax: (213) 612-2499
 6 San Francisco, CA 94105
   Tel: (415) 773-5700                         Leigh Coutoumanos**
 7 Fax: (415) 773-5759                         lcoutoumanos@willkie.com
                                               WILLKIE FARR &
 8 Michael W. Johnson**                        GALLAGHER LLP
   mjohnson1@willkie.com                       1875 K Street NW, Suite 100
 9 Dania Bardavid**                            Washington, DC 20006
   dbardavid@willkie.com                       Tel: (202) 303-1000
10 Jessica Blanton**                           Fax: (202) 303-2000
11 jblanton@willkie.com
   Joseph Bretschneider**                      Shalini Goel Agarwal
12 jbretschneider@willkie.com                  (CA Bar 254540)
   WILLKIE FARR &                              shalini.agarwal@splcenter.org
13 GALLAGHER LLP                               SOUTHERN POVERTY LAW
   787 Seventh Avenue                          CENTER
14 New York, NY 10019                          106 East College Avenue
   Tel: (212) 728-8000                         Suite 1010
15 Fax: (212) 728-8111                         Tallahassee, FL 32301
                                               Tel: (850) 521-3024
16 Maia Fleischman*                            Fax: (850) 521-3001
17 maia.fleischman@splcenter.org
   SOUTHERN POVERTY LAW                        Maria del Pilar Gonzalez Morales
18 CENTER                                      (CA Bar 308550)
   2 South Biscayne Boulevard                  pgonzalez@creeclaw.org
19 Suite 3750                                  CIVIL RIGHTS EDUCATION
   Miami, FL 33131                             AND ENFORCEMENT CENTER
20 Tel: (786) 347-2056                         1825 N. Vermont Avenue, #27916
   Fax: (786) 237-2949                         Los Angeles, CA 90027
21                                             Tel: (805) 813-8896
   Christina Brandt-Young*                     Fax: (303) 872-9072
22 cbrandt-young@dralegal.org
   DISABILITY RIGHTS
23 ADVOCATES
24 655 Third Avenue, 14th Floor
   New York, NY 10017
25 Tel: (212) 644-8644
   Fax: (212) 644-8636
26
27 Attorneys for Plaintiffs (continued from previous page)
   *Admitted Pro Hac Vice
28 **Pro Hac Vice Application Forthcoming
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 4
                                                                   3 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5547
                                       #:1881


 1 I, Homer Venters, declare the following under penalty of perjury pursuant to 28
 2 U.S.C. § 1746 as follows:
 3 Factual Developments Regarding COVID-19 Since My Prior Declaration
 4         1.      In the past two weeks, COVID-19 has entered into correctional
 5 facilities, including numerous ICE detention centers, as predicted. ICE reports that,
 6 as of April 7, there have been 19 detained people in 11 facilities, 11 ICE
 7 employees in 6 facilities, and 60 ICE employees not assigned to a facility who
 8 have all tested positive for COVID-19. 1 This is likely just the tip of the iceberg in
 9 terms of the number of ICE staff and detainees who are already infected but are
10 unaware due to the lack of testing nationwide, and the fact that people who are
11 infected can be asymptomatic for several days.
12         2.      New information about the transmissibility of COVID-19 has also
13 been revealed that is relevant to the health of ICE detainees and staff.
14              a. COVID-19 appears to be transmissible through aerosolized fecal
15                 contact. This is relevant because the plume of aerosolized fecal
16                 material that occurs when a toilet is flushed is not addressable by
17                 closing the lid of ICE detainee toilets, which lack a lid. This mode of
18                 transmission would pose a threat to anyone sharing a cell with a
19                 person who has COVID-19 and could occur before a person becomes
20                 symptomatic. This mode of transmission could also extend beyond
21                 cellmates, especially in circumstances where common bathrooms exist
22                 or where open communication between cells exists.2
23              b. CDC and state guidelines now recommend the use of protective masks
24                 for anyone who is in close contact with others, at less than 6 feet
25
26   ICE Guidance on COVID-19, IMMIGRATION & CUSTOMS ENFORCEMENT (Updated
     1

27 Apr.  3, 2020), https://www.ice.gov/coronavirus.
   2
     https://www.medpagetoday.com/infectiousdisease/covid19/85315
28
                                            1
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 5
                                                                   4 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5548
                                       #:1882


 1               distance. 3 This recommendation would apply to staff and detainees
 2               alike.
 3            c. The rate of COVID-19 infection spread in correctional settings is
 4               extremely rapid. The data from the NYC jail system reveal that in the
 5               space of two weeks, the facility went from zero confirmed infections,
 6               to 2, then 38, then 574. 4
 7                                COVID-19 in NYC Jails (all + tests)
 8                500
                  450
 9                400
                  350
10                300

11                250
                  200
12                150
                  100
13                 50
                    0
14
15
16               This rapid rate of increase in COVID-19 infections in detention
17               settings has overwhelmed local hospitals and required the deployment
18               of National Guard troops in several states to supplement the lack of
19               staffing and resources. 5 This rapid spread has also resulted in up to
20               half of all detained people and housing areas in a given facility being
21               placed into quarantine as each new case emerges and the close
22
     https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-
     3
23 cover.html
   4
     Board of Correction Daily Covid-19 Update, NEW YORK BD. OF CORR. (updated
24 Apr.  3, 2020), https://www1.nyc.gov/assets/boc/downloads/pdf/News/covid-
   19/Public_Reports/Board%20of%20Correction%20Daily%20Public%20Report_4
25 _3_2020_TO%20PUBLISH.pdf.
26   https://www.cantonrep.com/news/20200406/coronavirus-dewine-sending-
     5
   national-guard-to-elkton-federal-prison-east-of-canton-after-3-deaths And
27 https://abc7chicago.com/health/illinois-prisoners-sick-with-covid-19-overwhelm-
   joliet-hospital/6064085/
28
                                            2
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 6
                                                                   5 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5549
                                       #:1883


 1                 contacts for each case enter into quarantine for 14 days. For facilities
 2                 operating at over 75 percent of capacity, this process will be
 3                 essentially impossible as newly identified cases require initiating
 4                 quarantine areas for a prescribed 14-day period and housing areas are
 5                 not available for these date-based cohorts. The consequence will be
 6                 either a) mixing of different quarantine cohorts, which will not only
 7                 extend the effective quarantine period past 14 days but also increase
 8                 the spread of potentially infected people from different areas of the
 9                 facility, or b) failure to establish quarantine cohorts all together,
10                 meaning that close contacts of cases will remain mixed with other
11                 detainees, also increasing the spread of COVID-19 throughout the
12                 facility.
13 ICE Guidelines Contradict or Omit Several Important CDC Guidelines
14         3.      I have reviewed ICE’s March 6 and March 27, 2020 documents
15 addressing COVID-19, as well as declarations by ICE Captain Moon and IHSC
16 Physician Rivera and the webpage that ICE has established concerning COVID-19.
17 I have also reviewed the April 4, 2020 guidance from ICE Enforcement and
18 Removal Operations. Collectively, these policies continue to be deficient and at
19 odds with recommendations of the CDC regarding detention settings in a manner
20 that threatens the health and survival of ICE detainees.
21              a. ICE protocols and guidance fail to address the key recommendation of
22                 the CDC on the need for adequate intake screening of detainees. CDC
23                 guidance makes clear that everyone arriving in a detention facility
24                 should be screened for signs and symptom of COVID-19, but ICE
25                 protocols rely on questions about travel or other known contacts as a
26                 precursor to temperature checks and other sign and symptom checks.
27                 ICE protocols and guidance also fail to clearly mandate that all
28
                                                 3
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 7
                                                                   6 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5550
                                       #:1884


 1               symptomatic patients be immediately given a mask and placed in
 2               medical isolation, and that all staff who have further contact with that
 3               patient wear personal protective equipment, as set forth in the CDC
 4               guidelines. The ICE protocol also fails to address the now-standard
 5               CDC advice that everyone who cannot engage in social distancing
 6               wear a face covering. 6
 7            b. ICE protocols and guidance fail to address the key recommendation of
 8               the CDC on the need for monitoring and care of symptomatic patients.
 9                  i. The CDC guidelines make clear that patients who exhibit
10                     symptoms of COVID-19 should be immediately placed in
11                     medical isolation. ICE guidelines and protocols only invoke this
12                     response for newly arrived detainees who also answered yes on
13                     screening questions. This approach results in a failure to
14                     actively screen the large majority of detainees: people who are
15                     already detained.
16                  ii. CDC guidelines clearly indicate the need for twice-daily
17                     monitoring of patients who are symptomatic or in quarantine,
18                     and ICE only mandates a daily check.
19                 iii. ICE makes no mention of access to masks for patients in
20                     quarantine settings.
21                 iv. ICE fails to present a plan for how isolation will be conducted
22                     when the number of people exceeds the number of existing
23                     isolation rooms or cells. This is almost certain to occur in the
24                     coming weeks at multiple facilities.
25
26
27   6
      https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/diy-cloth-face-
     coverings.html
28
                                              4
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 8
                                                                   7 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5551
                                       #:1885


 1            c. ICE protocols and guidance fail to address the key recommendation of
 2               the CDC on the need for social distancing. ICE's March 27 memo
 3               mentions social distancing briefly, but fails to address how ICE
 4               facilities will enact modified meal or recreation times and also fails to
 5               address the most common scenarios in which high risk detainees find
 6               themselves in close quarters, including shared cells, medication lines,
 7               bathroom facilities, common walkways and day rooms, sally ports and
 8               transportation. This critical issue is also ignored in the declarations of
 9               Captain Moon. Again, because there is no cure for COVID-19, social
10               distancing remains the most effective means of prevention, and ICE
11               has failed to meaningfully implement this precaution into its guidance.
12            d. ICE protocols and guidance fail to address the key recommendation of
13               the CDC on the need to limit transportation of detainees as a means to
14               limit the spread of COVID-19. CDC guidelines state that transfers
15               should be limited to those that are absolutely necessary and that
16               receiving facilities must have capacity to isolate symptomatic patients
17               upon arrival. ICE protocols and guidance fails to address these issues.
18               CDC guidelines make clear the need for a clear plan for all aspects of
19               transport of suspected COVID-19 infected people, and ICE does not
20               have or report such a plan. This critical issue is also ignored in the
21               declarations of Captain Moon.
22            e. ICE protocols and guidance fail to address the key recommendation of
23               the CDC on the need for environmental cleaning of both housing
24               areas and other common spaces within facilities. CDC guidelines
25               provide clear details about the types of cleaning agents and cleaning
26               processes that should be employed, while ICE provide no guidance to
27               facilities on this critical issue. The declarations of Captain Moon that
28
                                               5
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 9
                                                                   8 of
                                                                     of 18
                                                                        17 Page
                                                                           Page ID
                                                                                ID
                                      #:5552
                                       #:1886


 1               state generally that ICE is providing adequate environmental cleaning
 2               stand in stark contrast to the declarations of detainees to the contrary,
 3               cited in my previous report. The reliance on detainees for conducting
 4               critical environmental cleaning, without proper training, protection or
 5               supervision, represents a gross deviation from correctional practices,
 6               and will likely contribute to the spread of COVID-19 throughout the
 7               ICE detention system.
 8            f. ICE protocols and guidance fail to address the key recommendation of
 9               the CDC on the need for adequate staffing and training of staff. ICE’s
10               March 27 memo simply states that “facilities are expected to be
11               appropriately staffed,” but provides no guidance whatsoever on how
12               that can be accomplished in the context of existing staffing gaps, a
13               decreased workforce, and increased needs resulting from steps
14               required to screen, monitor and treat detainees for COVID-19. CDC
15               guidelines make clear the need for a concrete plan for ensuring
16               adequate staffing as part of the COVID-19 response. These guidelines
17               also make clear the need to orient staff to the critical need to stay
18               home if and when they experience symptoms of COVID-19 infection.
19               In sum, aside from its March 27 “expectation” of appropriate staffing
20               levels, ICE has not implemented any meaningful oversight system to
21               ensure that staffing levels are appropriate. Critically, appropriate
22               staffing levels refers not only to a sufficient number of staff but also
23               to a sufficient number of qualified staff. In my experience, many
24               facilities rely heavily on guards and LPNs to do medical work that
25               they are not qualified to do; likewise, many facilities rely on RNs to
26               do medical work that only doctors or physician-assistants are qualified
27               to do. There is no indication whatsoever that ICE is implementing
28
                                               6
     Case
     Case5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document260-5
                                         113-2 Filed
                                               Filed04/12/20
                                                     04/09/20 Page
                                                              Page10  of17
                                                                   9 of  18 Page
                                                                            PageID
                                                                                 ID
                                       #:5553
                                       #:1887


 1                procedures to ensure not only sufficient numbers of staff but also
 2                sufficient numbers of qualified staff. The declaration of Dr. Rivera
 3                confirms that ICE is relying on an emergency staffing plan from 2014,
 4                updated in 2017, but the current shortages in staffing for health staff
 5                in particular, stretch across all communities, and staffing shortages
 6                represent a real emergency in many settings already. This is
 7                particularly concerning given that many ICE facilities are located in
 8                rural areas far from qualified medical professionals. This is a very
 9                serious defect that must be immediately remediated because access to
10                qualified medical professionals is crucial during this rapidly evolving
11                pandemic.
12             g. Several CDC guidelines address people with factors that put them at
13                an increased risk of significant injury or death, but the ICE protocols
14                do not even identify what precautions should be taken to protect
15                people with those risk factors in ICE custody. In addition, the Apr. 4
16                list of risk factors for serious illness and death from COVID-19
17                infection developed by ICE is inconsistent with CDC guidelines and
18                fails to adequately advise facilities on which detainees are at elevated
19                risk. This list is included in a memo to Field Office Directors
20                regarding Docket Review, and fails to include very basic risk factors
21                identified by the CDC, including body mass index over 40 and being a
22                current or former smoker. 7 By apparently assigning this process to
23                field directors and their staff, who are not medical professionals,
24                advising security staff to check with medical professionals after the
25                fact, and failing to include CDC-identified risk factors, this docket
26
27    7
       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-
      higher-risk.html And https://www.cdc.gov/mmwr/volumes/69/wr/mm6913e2.htm.
28
                                               7
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 11
                                                                   10 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5554
                                       #:1888


 1                review process will likely leave many people with true risk factors in
 2                detention. This is particularly the case if they’re detained under
 3                certain immigration law provisions, where the guidance recommends
 4                officers not release them despite risks. Thus, the guidance appears to
 5                be just that – guidance, and the risk factors are not determinative. In
 6                fact, the guidance appears to not make these risk factors determinative
 7                for release—even for people who are not subject to mandatory
 8                detention. ICE also identifies people under that age of 60 in this
 9                cohort but the age of 55 is appropriate. Because detained people have
10                consistently been identified as having higher levels of health problems
11                that reflect 10-15 years more progressed than chronological age,
12                numerous organizations and research studies have used the age of 55
13                to define the lower limit of older detainees. 8 ICE also limits the high
14                risk period for women to 2 weeks after child birth, yet one of the most
15                serious increased risk during pregnancy is hypercoagulable state,
16                which increases the risk of blood clots in the large veins of the lower
17                extremities, and sometimes in the lung which can prove fatal. This
18                risk extends to 6 weeks post-partum and also occurs independently
19                with COVID-19 infection. 9 Accordingly, ICE should include these
20                definitions in its list of risk factors. ICE should also put in place a
21                mechanism to ensure that risk factors reflect the evolving science and
22                data concerning COVID-19, since it is likely that additional risk
23                factors will emerge as more data is collected. The declaration of Dr.
24
25   https://nicic.gov/aging-prison and
      8

26 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3464842/
   9
     https://www.acog.org/patient-resources/faqs/womens-health/preventing-deep-
27 vein-thrombosis And
   https://www.medpagetoday.com/infectiousdisease/covid19/85865.
28
                                           8
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 12
                                                                   11 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5555
                                       #:1889


 1                  Rivera not only fails to identify what risk factors are being considered
 2                  by ICE medical staff, but also fails to mention any plan to determine
 3                  which currently detained people have these risk factors, and what
 4                  special protections, if any, will be created for this high-risk cohort.
 5 ICE’s Inadequate Response to COVID-19 in Areas Where There is no Direct
 6 CDC Guidance
 7          4.      Numerous and significant failures of the ICE response to COVID-19
 8 also exist in areas in which the CDC does not provide direct guidance, but that
 9 detention facilities must implement. These failures threaten the health and survival
10 of ICE detainees.
11               a. Neither the ICE COVID-19 protocols nor the declarations set forth
12                  any policies or protocols addressing release of medically vulnerable
13                  detained people in light of the significant risks to those people posed
14                  by COVID-19. This must be done immediately and is in contrast to
15                  the efforts made in many prison and jail systems across the country.
16                  The Apr. 4 promulgation of an incomplete list of risk factors in a
17                  memo relating to discretion for release occurs in a complete vacuum
18                  of guidance on special protection and clinical management of people
19                  with those risk factors while in detention. This Memo describes an
20                  overly discretionary decisionmaking process for release that does not
21                  sufficiently favor depopulation as public health requires and that has
22                  no urgency to it. Reviews and releases must be undertaken
23                  immediately.
24               b. ICE does not have any mechanisms to monitor or promote the health
25                  of all people in its charge. This failure is documented in many reports
26                  about ICE’s inadequate healthcare system, but now poses a grave risk
27                  to their survival as ICE struggles to mount a competent response to
28
                                                  9
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 13
                                                                   12 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5556
                                       #:1890


 1                COVID-19 across more than 150 facilities, on behalf of roughly
 2                40,000 detainees and almost as many direct and contract staff. The
 3                declaration of Dr. Rivera reflects that no incident command system is
 4                in place to manage this response, and reporting and communication
 5                among direct and contract health and security leadership of the ICE
 6                detention system occurs in a fragmented, one-way, or as-needed basis.
 7                   i. ICE’s March 27 memo takes the dangerous approach of
 8                      limiting clinical guidelines for COVID-19 response to the
 9                      detainees being provided direct care by ICE health services
10                      corps (IHSC) staff, which represents approximately 13,000
11                      detainees.10 As a result, detention centers operated by public
12                      and private contractors are not provided with this guidance.
13                      This approach to management of the COVID-19 outbreak
14                      ensures that vital information will remain in these facilities,
15                      instead of being acted upon by ICE. As a result, ICE will not
16                      know when its own policies or even basic standard of infection
17                      control are being followed. ICE's failure to properly monitor
18                      and oversee medical care at its detention centers has been a
19                      chronic concern in the health services provided to ICE
20                      detainees prior to this outbreak and has been cited as a core
21                      failure of ICE in its obligations to establish quality assurance
22                      throughout its detention network. 11 There is no indication that
23                      ICE can adequately monitor the response across its system to
24                      COVID-19. Absent robust and centralized oversight, ICE will
25
26   https://www.ice.gov/ice-health-service-corps and
      10

     https://www.oig.dhs.gov/sites/default/files/assets/2019-02/OIG-19-18-Jan19.pdf
      11
27 And https://www.oig.dhs.gov/sites/default/files/assets/2019-06/OIG-19-47-
   Jun19.pdf
28
                                           10
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 14
                                                                   13 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5557
                                       #:1891


 1                     not be able to provide a coordinated response informed by on-
 2                     the-ground data from detention centers. This is in stark contrast
 3                     to many prison systems across the country that are coordinating
 4                     their efforts, including with health departments.
 5                  ii. ICE has no plan or even capacity to provide daily clinical
 6                     guidance to all of the clinical staff it relies on to care for ICE
 7                     detainees, whether at ICE-operated facilities or contract
 8                     facilities. This is a core failure because of the new nature of
 9                     COVID-19 and constantly changing clinical guidance on how
10                     to treat patients. Daily briefings with health administrators and
11                     medical and nursing leadership should be held, which are both a
12                     core aspect of outbreak management and provide a critical
13                     avenue for receiving feedback on real-time conditions inside
14                     facilities. ICE has not articulated any plan to ensure that this
15                     type of basic communication is in place across its network of
16                     detention settings. This guidance should also include uniform
17                     recommendations on when and how to transport patients to the
18                     hospital. Failure to implement this kind of procedure—
19                     particularly in light of the other defects described herein—poses
20                     a significant risk to the health and lives ICE detainees.
21                 iii. ICE has failed to establish the type of COVID-19 surveillance
22                     that is required to manage their COVID-19 response. Because
23                     ICE is responsible for approximately 40,000 lives inside over
24                     150 facilities, with a wide variety of contract and administration
25                     types, ICE leadership, namely the IHSC, must establish a
26                     competent surveillance system for COVID-19 that includes, at a
27                     minimum, a dashboard reflecting critical and real-time
28
                                              11
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 15
                                                                   14 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5558
                                       #:1892


 1                               information for clinical cases and facility resources. A
 2                               dashboard is a collection of real time data used to manage
 3                               healthcare and other operations, and COVID-19 dashboards are
 4                               now used by every state and the federal government to manage
 5                               their day to day resource and clinical responses to this
 6                               pandemic.12 My experience during H1N1 when my team and I
 7                               needed to create an outbreak dashboard for 13 jails holding
 8                               15,000 patients was that we were able to design and implement
 9                               this approach in a 3-4 week timeline, but that we established
10                               data streams from hotspots and most impacted facilities within
11                               a week. This approach for ICE would include, but not be
12                               limited to the following variables and would be utilized by
13                               IHSC leadership to track each individual facility and then roll
14                               up to State, regional and national dashboards;
15                                        Clinical Surveillance (number of detainees)

       Number of       Number             Number positive      Number of      Number of patients    Number of patients
16     symptomati      awaiting/receive   tests (w and w/o     detainees in   awaiting/in/returne   awaiting/in/returne
       c (w and        d tests (w and     CDC risk factors)    quarantine     d from hospital for   d from hospital for
17     w/o CDC         w/o CDC risk                            (w and w/o     COVID-19 (w and       COVID-19(w and
       risk factors)   factors)                                CDC risk       w/o CDC risk          w/o CDC risk
18                                                             factors)       factors)              factors)
                                                               quarantine*
19                                                             13

                                                     Resource allocation
20
       Deficit in      Deficit in         PPE deficits by      Cleaning,      Sinks and other       Restrictions in
21     security        nursing/mid-       masks/gowns/glove    soap, hand     plumbing not          local hospital
       FTE             level/MD FTE       s etc.               sanitizer      operational           beds 14
22
23
      Example of FL State COVID-19 dashboard
      12
24 https://experience.arcgis.com/experience/96dd742462124fa0b38ddedb9b25e429.
25 theAn  additional data mandate for every facility is to create a histograms that shows
   13
       number of people in quarantine for each of the 14 days, so that the facility,
26 State, regional and national data can show the trends in quarantine and new cases.
   14
      Many correctional facilities are already experiencing restrictions from local
27 hospitals. Some local hospitals have informed detention centers that they will only
   accept COVID-19 patients, while others have restricted all access.
28
                                             12
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 16
                                                                   15 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5559
                                       #:1893


 1                                             supply
                                               deficits
 2
                       This centralized surveillance is absolutely necessary in COVID-
 3
                       response. On the clinical side, some local hospitals have already
 4
                       closed their doors to incarcerated patients and the lack of access
 5
                       of ICE patients to hospital-level care (such as intensive care
 6
                       beds and respiratory rehabilitation) should be a core concern for
 7
                       ICE--not one that can be resolved by local facilities alone. On
 8
                       the resource side, the staffing requirements are extremely acute
 9
                       in detention settings and the deployment of the Ohio National
10
                       Guard in a prison in Ohio should trigger immediate high-level
11
                       review of staffing, PPE and other resources issues across the
12
                       ICE network. ICE’s surveillance system must also account for
13
                       the availability of hospital beds and intensive care unit beds (as
14
                       well as other hospital-level equipment, such as ventilators, that
15
                       are lacking in facilities but crucial for COVID-19 treatment).
16
                       Currently ICE appears not to provide this kind of crucial
17
                       surveillance and coordination. In addition, many patients will
18
                       require nursing home placement in subacute care settings, a
19
                       resource traditionally inaccessible to most ICE detainees
20
                       because of their lack of insurance status. Absent tracking of this
21
                       kind of crucial data, ICE will not be able to ensure that
22
                       individuals in its custody have access to life-saving medical
23
                       care. One critical measure in assessing staffing is to measure
24
                       the staffing deficit (unmet need) to perform the work of the
25
                       facility, not use the baseline staffing matrix. If a facility has
26
                       1,000 detainees and regularly employs 150 security staff, 5
27
28
                                              13
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 17
                                                                   16 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5560
                                       #:1894


 1                      physicians and 25 nurses across three shifts, by example, the
 2                      arrival of COVID-19 in the facility will require significantly
 3                      more work to be done, with additional security and nursing staff
 4                      working in quarantine units and medical clinics particularly,
 5                      and additional security staff needed to enable social distancing,
 6                      which is a labor intensive process.
 7                  iv. The Apr. 4 ICE memo to Field Directors on identification and
 8                      release of detained people with risk factors for serious illness
 9                      and death from COVID-19 infection is both incomplete and
10                      revelatory. ICE has omitted multiple important risk factors
11                      identified by the CDC in its own list, but has also failed to
12                      create any surveillance of the outbreak across facilities that
13                      includes the number of patients experiencing symptoms,
14                      confirmed COVID-19 infection or hospitalization by presence
15                      or absence of CDC risk factors.
16          5.    As ICE determines to release people from detention, they should be
17 afforded symptom screening akin to what is done with staff, but the release of
18 detainees to the community will lower their own risks of infection and will also
19 serve to flatten the overall epidemic curve by decreasing the rate of new infections
20 and the demands on local hospital systems. From a medical and epidemiologic
21 standpoint, people are safer from COVID-19 infection when not detained, and the
22 epidemic curve of COVID-19 on the general community is flattened by having
23 fewer people detained.
24          6.    I declare under penalty of perjury that the statements above are true
25 and correct to the best of my knowledge.
26
27 Signature:
28
                                              14
     Case
     Case 5:17-cv-02514-JGB-SHK
          5:19-cv-01546-JGB-SHK Document
                                Document 260-5
                                         113-2 Filed
                                               Filed 04/12/20
                                                     04/09/20 Page
                                                              Page 18
                                                                   17 of
                                                                      of 18
                                                                         17 Page
                                                                            Page ID
                                                                                 ID
                                       #:5561
                                       #:1895


 1
 2 Homer Venters MD, MS
 3 Date: 4/9/2020
 4 Location: Port Washington, NY
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          15
